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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )       Case No. 1:19-CR-201-LMB
                                              )
GEORGE AREF NADER,                            )
                                              )
               Defendant.                     )
                                              )

      POSITION OF THE UNITED STATES WITH RESPECT TO SENTENCING

       The United States hereby submits its position on the sentencing of the defendant

GEORGE AREF NADER (“defendant” or “NADER”) in accordance with U.S.S.G. §6A1.2 and

the policy of this Court. As explained below, the government believes that the Sentencing

Guidelines are properly calculated at a total offense level of 40 (292 to 365 months) with a criminal

history category of I and a fine in the range of $25,000 to $250,000. 1 Taking into account the

factors set forth in 18 U.S.C. § 3553(a), the government makes a final sentencing recommendation

for each of the two counts of conviction of: 10 years of imprisonment, a lifetime of supervised

release, a fine in the Court’s discretion, and a $100 special assessment. In addition, the government

asks that the Court further order the payment of restitution of $150,000 to MINOR BOY 1, as well

as the forfeiture agreed to in the plea agreement. The government further recommends that the

sentences for the two counts be run concurrently.




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  In the event that the Court determines it will follow the “one-book” rule, the government believes
that the Sentencing Guidelines are properly calculated at a total offense level of 42 (360 to 600
months) with the same criminal history category and fine range.
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I.     Background

       Sixty-one-year-old GEORGE AREF NADER has repeatedly engaged in the sexual abuse

of minors and has demonstrated interest in images of child sexual abuse and children for decades.

The defendant’s first known encounter with federal law enforcement occurred in 1984 when he

was allegedly involved with child pornography sent to him through the mail. Even 36 years ago,

when the defendant was about 25 years of age, he showed his sexual interest in boys. But a court

in Washington, D.C. ruled that the evidence was improperly obtained and the defendant escaped

responsibility then.

       In 1991, NADER, at age 31, was caught by customs officials when he knowingly

transported two films of minor boys into the country. He pled guilty in this very Court and received

a sentence far below what would be expected of such a crime today – six months of imprisonment.

       Less than a decade later, NADER in his late 30’s/early 40’s had broadened his horizons by

exploiting troubled teenage boys for his own sexual gratification, primarily targeting minor

prostitutes overseas. One of these boys, MINOR BOY 1, a 14 year old, is the subject of one of the

counts of conviction. Having enjoyed MINOR BOY 1’s paid company in Prague, the defendant

paid for him to travel alone from the Czech Republic to the United States, where the defendant

continued committing his child exploitations in the comfort of his U.S. residence. The Court

should remember that this 14-year old boy was by himself in a strange country where he had no

connections, spoke little English, and relied completely on Mr. NADER. The boy says that he was

taken advantage of sexually over and over again by the defendant; the defendant has admitted it

happened once. Rather than detailing it further here, MINOR BOY 1 has submitted an extensive

statement and would like the opportunity to address the Court before the defendant is sentenced.
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         Mr. NADER’s comeuppance for abuse of multiple minors in Prague came after he

brought MINOR BOY 1 to the United States. NADER was convicted in the Czech Republic for

having paid sex with troubled teen boys in the early part of the decade. The defendant ended up

serving approximately a year in a foreign jail for his conduct. His paid sexual activities in that

period in Prague with MINOR BOY 1 was part of his charged conduct in the Czech Republic but

MINOR BOY 1 did not testify in the Czech proceedings and the defendant was not convicted for

his conduct with him.

       NADER came across the radar of the federal authorities again later that decade, when a

minor boy from another country who had stayed at NADER’s residence in Washington, D.C.

reported that Mr. NADER had shown him child pornography. That case was never charged and

NADER has spent the majority of his time since then overseas.

       Over the course of 35 years, NADER has left a number of known and unknown minor

victims in his wake, traveling around the world, with limited periods of time in the United States.

As his reputation grew within the international community, so did his sexual desire for underaged

boys. Through email and text exchanges with other pedophiles, the defendant had access to images

and videos of child sexual abuse and made requests for certain kinds of child pornography to satisfy

his sexual attraction to boys.

II.    Guidelines Calculation

       To determine the appropriate sentence, the Court must consult both the United States

Sentencing Guidelines (the “Guidelines”) and the factors set forth in 18 U.S.C. § 3553(a).

Although they are advisory, “a sentencing court is still required to ‘consult [the] Guidelines and

take them into account when sentencing.’” United States v. Clark, 434 F.3d 684, 685 (4th Cir.

2006) (quoting United States v. Booker, 542 U.S. 220, 264 (2005)). Thus, a sentencing court must
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first calculate the applicable Guidelines range after making the appropriate findings of fact. United

States v. Hughes, 401 F.3d 540, 546 (4th Cir. 2005). Relying on that range as “the starting point

and the initial benchmark,” the sentencing court must then “consider all of the § 3553(a) factors”

before imposing a sentence. Gall v. United States, 552 U.S. 38, 49–50 (2007).

            a. The 2018 Sentencing Guidelines for Counts One and Two

        Using the 2018 Sentencing Guidelines for Count One, the U.S. Probation Office calculated

the total offense as follows: 2

         Guideline 3
         Base offense level (U.S.S.G. § 2G2.2(a)(1))                                  18
         The material involved a prepubescent minor or a minor who had                +2
         not attained the age of twelve years (U.S.S.G. § 2G2.2(b)(2))
         The defendant knowingly engaged in distribution other than                   +2
         distribution described in subdivisions (A) through (F) (U.S.S.G. §
         2G2.2(b)(3)(F))
         The offense involved material that portrays (A) sadistic or                  +4
         masochistic conduct or other depictions of violence; and/or (B)
         sexual abuse or exploitation of an infant or toddler (U.S.S.G. §
         2G2.2(b)(4))
         The defendant engaged in a pattern of activity involving the sexual          +5
         abuse or exploitation of a minor (U.S.S.G. § 2G2.2(b)(5))
         The defendant used a computer or an interactive computer service             +2
         for the possession, transmission, receipt, or distribution of the
         material or for accessing with intent to view the material (U.S.S.G.
         § 2G2.2(b)(6))
         The offense involved more than 600 images (at least 18 videos =              +5
         1,350 images) (U.S.S.G. § 2G2.2(b)(7)(D))
         ADJUSTED OFFENSE LEVEL                                                       38


2
 Notwithstanding the agreement between the United States and the defendant to apply the 2011
Sentencing Guidelines in Count One, U.S. Probation Office notes that the 2018 Sentencing
Guidelines were in effect in 2011, and the same calculations would apply. PSR ¶ 68 n.3.
3
  Pursuant to the plea agreement, there was no agreement between the parties on whether any
additional enhancements could be applied to the defendant’s conduct. As the plea agreement
states, “The United States and the defendant have not agreed on any further sentencing issues,
whether related to the Sentencing Guidelines or otherwise, . . .” ECF No. 171 at 5.
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PSR ¶¶ 69-79.

        Using the 2018 Sentencing Guidelines for Count Two, the U.S. Probation Office calculated

the total offense as follows: 4

         Guideline
         Base offense level (U.S.S.G. § 2G1.3(a)(3))                                28
         The minor was otherwise in the custody, care, or supervisory               +2
         control of the defendant (U.S.S.G. § 2G1.3(b)(1)(B))
         The participant otherwise unduly influenced a minor to engage in           +2
         prohibited sexual conduct (U.S.S.G. § 2G1.3(b)(2)(B))
         The offense involved the commission of a sex act or sexual                 +2
         contact (U.S.S.G. § 2G1.3(b)(4)(A))
         ADJUSTED OFFENSE LEVEL                                                     34



PSR ¶¶ 80-87.

        Each count was assigned one unit for a total of two units, and when applied to the greater

offense level, the combined adjusted offense level is 40 under U.S.S.G. § 3D1.4. Id. ¶¶ 88-91.

The PSR also enhances the defendant’s offense level by 5 points under U.S.S.G. § 4B1.5(b)(1),

which applies when a defendant convicted of certain sex crimes has engaged in a pattern of activity

involving prohibited sexual conduct, for an adjusted offense level of 45. Id. ¶ 92. The PSR reduces

the defendant’s total offense level by 2 point for acceptance of responsibility and, after the

expected motion by the government, reduces it again by 1 point for assisting authorities in the

investigation or prosecution of his own misconduct for a total offense level of 42. Id. ¶¶ 93-94.




4
 Notwithstanding the agreement between the United States and the defendant to apply the 1998
Sentencing Guidelines, U.S. Probation Office notes that it applied the 2018 Guidelines in
accordance with U.S.S.G. § 1B1.11(b)(2). PSR ¶ 68 n.3.
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With the defendant’s criminal history category of I, the advisory Guidelines range calculated by

the probation officer with respect to incarceration is 360 to 600 months. Id. ¶ 156.

             b. The 1998 Sentencing Guidelines for Count Two Pursuant to the Plea
                Agreement

          With respect to the plea agreement, the United States and the defendant agreed to

recommend the following provisions under 18 U.S.C. § 2423(a) using the 1998 Sentencing

Guidelines:

           Guideline
           Base offense level (U.S.S.G. § 2G1.1(a))                                    14
           The offense involved a victim who had attained the age of 12                +7
           years, but not attained the age of 16 years (U.S.S.G. §
           2G2.1(b)(2)(B))
           The victim was otherwise in the custody, care, or supervisory               +2
           control of the defendant (U.S.S.G. § 2G2.1(b)(3))
           ADJUSTED OFFENSE LEVEL                                                      23



ECF No. 171 at 4.

          If the Court were to adopt the parties’ recommendation to apply the 1998 Guidelines for

Count Two, with all other levels remaining, the total offense level would be 40.

   III.      Section 3553(a) Sentencing Factors

          As always, after calculating the applicable Guidelines range, a sentencing court must

consider that range, as well as the sentencing factors set forth in 18 U.S.C. § 3553(a), and determine

an appropriate and reasonable sentence. Nelson v. United States, 555 U.S. 350, 351 (2009). These

factors include the nature and circumstances of the offense, the history and characteristics of the

defendant, and the need for the sentence imposed to reflect the seriousness of the offense, provide

just punishment, and avoid unwarranted sentencing disparities. See 18 U.S.C. § 3553(a). Proper

consideration of these factors requires acknowledgment of the many aggravating circumstances in
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this case, including the particularly predatory nature of the defendant’s offense conduct, the youth

and vulnerability of his victims, and his efforts to contribute to a community of other child sex

offenders. In light of these circumstances, and given the sentences imposed for similar defendants,

the United States requests that the Court impose a significant sentence of imprisonment on Mr.

NADER.

       A. Nature and Circumstance of the Offenses

       The defendant has pleaded guilty to possession of child pornography and transportation of

a minor with intent to engage in criminal sexual activity. It is beyond dispute that crimes against

children like these are grievous offenses that warrant significant sanctions. See United States v.

Morace, 594 F.3d 340, 350 (4th Cir. 2010) (citing a 2003 legislative enactment as “ample evidence

of Congress’s intent that offenses involving child pornography be treated severely” (internal

quotations and citation omitted)). The possession of child pornography alone inherently involves

the sexual abuse and exploitation of children, even if no new child pornography is produced. Far

from being victimless, distribution of child pornography results in perpetual harm to victims who

have already endured childhood sexual abuse. See, e.g., Paroline v. United States, 572 U.S. 434,

440 (2014). As the Fourth Circuit has observed, “[i]t is well established that children featured in

child pornography are harmed by the continuing dissemination and possession of that

pornography. Such images are ‘a permanent record of the children’s participation and the harm to

the child is exacerbated by their circulation.’” United States v. Burgess, 684 F.3d 445, 459 (4th

Cir. 2012) (quoting New York v. Ferber, 458 U.S. 747, 759 (1982))); see also United States v.

Accardi, 669 F.3d 340, 345 (D.C. Cir. 2012) (“[C]hild pornography creates an indelible record of

the children’s participation in a traumatizing activity, and the harm to the child is only exacerbated

by the circulation of the materials.”) The victims of the defendant’s conduct are no different, and
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the defendant’s active participation further fuels the market for the creation of more child

pornography.

       B. The History and Characteristics of the Defendant

       The defendant’s conduct here indicates that he is an online member of a community of

child sex offenders. In December 2012, the Sentencing Commission issued a report to Congress

on child pornography offenses that in part addresses this very issue of online communities of child

pornographers. See United States Sentencing Commission, Report to the Congress: Federal Child

Pornography Offenses (Dec. 2012) (“U.S.S.C. Report”). 5 In the report, the Commission delineated

three general categories of child pornography distribution that occur in light of the proliferation of

internet-accessible technology. See, e.g., United States v. Klear, 3 F. Supp. 3d 1298, 1304 (M.D.

Ala. 2014). Of the particular categories, the online child-pornography communities are the most

applicable to this defendant. Id. (citing U.S.S.C. Report at 92–99). The emergence of this category

is particularly concerning because it is in these online communities where offenders normalize,

validate, and encourage their sexual interest in children “so that actual sexual contact with a child

no longer seems as wrong” and more offenders feel emboldened to take the step from possession

to production of child pornography. Id.

       Over decades, the defendant’s conduct here shows the evolution of his child pornographic

behavior through his documented encounters with law enforcement. It also shows his increased

sophistication as he interacted with like-minded pedophiles. Beginning in 1984, his first contact

with law enforcement was through the mail he ordered to obtain child pornography and letters sent

boys in another state under an alias to mask his detection. PSR ¶¶ 97-100. Then in 1998, he was




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  The U.S.S.C. Report is available online at https://www.ussc.gov/research/congressional-
reports/2012-report-congress-federal-child-pornography-offenses.
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again under investigation for the same kind of offense. Id. ¶¶ 102-108. In 1991, he was convicted

of transportation of child pornography when authorities seized videos surreptitiously hidden in

candy tins. Id. ¶ 119. Abroad, the defendant expanded his horizon through direct sexual contact

with minors, including contact with the victim in this case leading to the present offense of

transportation of a minor, and in 2003, the defendant was convicted in the Czech Republic for

offenses related to sexual contact with minors. Id. ¶¶ 27-34, 54-62, 123-126. By 2009, he was

corresponding with pedophiles through electronic means, and by 2012, through social media apps

leading to the current offense. Id. ¶¶ 17-26, 110-117. The most recent benchmarks were in 2018

and 2019 when the defendant was again was found to possess mobile devices containing chats,

videos, and internet searches clearly demonstrating his continual interest in child pornography and

the sexual and physical abuse of children. Id. 34-54. This timeline outlines the defendant’s

purposeful, calculative efforts, but more alarming is his lack of deterrence despite the number of

times he encountered law enforcement and two separate sessions of incarceration.

        That the defendant’s behavior gradually shifted from child pornography to hands-on sexual

contact with minors is not surprising. In 2005, researchers at the Federal Correctional Institution

in Butner, North Carolina conducted a study of 155 inmates over an 18-month period who were

convicted solely of child pornography offenses (possession, receipt, and distribution) where there

was no evidence of hands-on sexual abuse of children. As the study notes, these inmates had no

incentive to falsify their answers. Of this group, 85% admitted to having sexually molested a child

at some point in the past. This study is generally regarded as the foremost study in the internet age

of convicted child pornographers and their tendencies toward hands-on sexual abuse. While there

have been various critiques of the study since its publication, researchers revisited the study and

addressed the specific issues it has since raised, all while presenting the findings of the initial study
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in a 2009 publication entitled, “The ‘Butner Study’ Redux: A Report of the Incidence of Hands-

On Child Victimization by Child Pornography Offenders,” Journal of Family Violence, Vol. 24,

pp. 182-191 (2009).

       Here, the correlation between child pornographers and hands-on offenders has been

demonstrated through this defendant. In one elaborate instance, the defendant spent two months

orchestrating efforts to bring one of his sexual exploits, a vulnerable teenager whose native

language was not English, from his home country into the United States with the promise of an

education. PSR ¶¶ 27-32. The defendant used his contacts and his wealth to accomplish this task,

which allowed him to continue his sexual exploitation of this victim in the United States. Only

years later, this now-adult victim understands the permanent psychological (and physical) damage

the defendant caused him through the defendant’s manipulative tactics. Id. ¶¶ 57-62, Victim Letter

to the Court.

       C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense,
          Provide Just Punishment, and Avoid Unwarranted Sentencing Disparities

       Undoubtedly, the defendant’s conduct is grave and dangerous. His actions do not reflect a

simply isolated incident, but rather a persistent, intentional, pervasive, and multi-jurisdictional

effort to exploit children. As a decades-long repeat offender against minors, the defendant’s

acceptance of responsibility statement to probation for conduct “occur[ing] some time ago” and

“actions in the past” does not truly reflect the defendant’s acceptance of his full responsibility for

similar conduct occurring as recently as last year. PSR ¶ 67. As the defendant’s past behavior

suggests and deflection of his most recent encounters with law enforcement, there exists a potential

for future recidivism if he does not receive a significant penalty for his highly evasive and criminal

conduct. His actions to avoid detection are rendered all the more inexcusable given that the

defendant had the age, background, and life experiences to make lawful, responsible choices.
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          Also, if the defendant can be deterred from seeking and collecting child pornography and

sexual abusing minors, the best means of deterrence would be a significant sentence in light of the

defendant’s history. A significant sentence is necessary to properly account for the defendant’s

personal history and characteristics, as well as to impress upon him and other offenders that his

decades-long, international effort to avoid justice for his criminal conduct will not be tolerated. It

also accounts for the statutory and Guidelines provisions and does not create an unwarranted

sentence disparity.

    IV.      Restitution

          Pursuant to the plea agreement, see PSR ¶ 8, and 18 U.S.C. § 2259, the defendant must pay

restitution in the “full amount” of losses caused to the victim in this case. Here, the defendant and

MINOR BOY 1 have agreed upon $150,000 as the appropriate restitution. The government fully

supports MINOR BOY 1’s efforts and thanks the Court for appointing counsel to represent his

interests.
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   V.      Conclusion

        For the reasons above, the United States respectfully requests that the Court impose a term

of imprisonment of 120 months, a lifetime of supervised release, a fine in the Court’s discretion,

and a $100 special assessment on each of the two counts of conviction to be served concurrently.

                                             Respectfully Submitted,

                                             G. Zachary Terwilliger
                                             United States Attorne




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 22, 2020, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will send a notification of such filing (“NEF”) to counsel

of record in this case.




                                               Respectfully submitted,

                                               G. Zachary Terwilliger
                                               United States Attorney




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